               Case 1:20-mj-11448-UA Document 7 Filed 11/04/20 Page 1 of 1

                                                                                                        March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                        CONSENT TO PROCEED BY
                                                                                 VIDEOCONFERENCE
                              -v-
                                                                                      -CR-               (     )(         )
GEORGE W. ADAMS, ,
JR.                                     Defendant(s).
 -----------------------------------------------------------------X

Defendant GEORGE W. ADAMS, JR.                            hereby voluntarily consents to
participate in the following proceeding via videoconferencing:
 x        Initial Appearance/Appointment of Counsel

          Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
          Indictment Form)

          Preliminary Hearing on Felony Complaint

          Bail/Revocation/Detention Hearing

          Status and/or Scheduling Conference

          Misdemeanor Plea/Trial/Sentence


                                                                                         Digitally signed by Amy Lester
                                                                      Amy Lester         Date: 2020.11.02 10:20:53
                                                                                         -05'00'

Defendant’s Signature                                                 Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
 George Adams                                                         Amy Lester
Print Defendant’s Name                                                Print Defense Counsel’s Name


This proceeding was conducted by reliable videoconferencing technology.


   11/4/2020
Date                                                                  U.S. Magistrate Judge
